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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

JOHN DOE I, et al.,                     )
                                        )
             Plaintiffs,                ) Civil Action No. 01-1357 (RCL/AK)
                                        )
v.                                      )
                                        )
EXXON MOBIL CORPORATION, et al.,        )
                                        )
             Defendants.                )
                                        )


                PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT
          OF MOTION TO COMPEL DISCOVERY AND IMPOSE SANCTIONS
        AND OPPOSITION TO DEFENDANTS’ CROSS-MOTION FOR SANCTIONS
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        The fundamental commands of Rule 30 of the Federal Rules of Civil Procedure could not

be clearer:

                 Rule 30 implements Rule 1’s goals by prescribing how attorneys should behave in
        connection with depositions. The Rule provides that “examination and cross-
        examination of a deponent proceed as they would at trial.” Fed. R. Civ. P. 30(c)(1).
        Two things are implicit in the Rule 30’s command that depositions must “proceed as [it]
        would at trial.” First, attorneys must follow the same procedures as they would at trial.
        See Advisory Committee Notes, 1993 Amendments (discussing direct examination, cross
        examination, and objections). Second, attorneys must conduct themselves as they would
        at trial. Id. (“[C]ounsel should not engage in any conduct … that would not be allowed in
        the presence of a judicial officer.”).1

        Defendant EMOI, its Rule 30(b)(6) representative and its counsel repeatedly violated

these commands. They engaged in conduct that would never be permitted in a courtroom or in

the presence of a judicial officer. And the fundamental tactics they employed were pre-planned

and continued throughout the deposition despite numerous cautions to correct this behavior.

        In more than 35 years of practice on behalf of both plaintiffs and defendants, Plaintiffs’

counsel, Mr. Pierson, has dealt with a broad spectrum of litigation behavior. “Ordinary”

misbehavior from counsel is usually dealt with among attorneys, with letters and conversation.

In his career, he has never filed a sanctions motion before now, and Plaintiffs do not do so lightly

here. But Defendant’s conduct, if countenanced, would completely defeat the purposes of a Rule

30(b)(6) deposition. And it not only obstructed that deposition, it made it impossible to proceed

with the scheduled EMC Rule 30(b)(6) deposition authorized by the Court, which would have

featured the same witness and Defense counsel. In fact, the Opposition Brief’s (“Opp. Brief’s”)

attempt to recharacterize what occurred at the EMOI deposition – and its inclusion of a frivolous




    1
     U.S. EEOC v. Mattress Firm, Inc., No 2:13-c745-GMN-VCF, 2014 WL 5470470, at *1 (D.
Nev. Oct. 27, 2014) (emphasis added) (alterations in original).


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cross-motion for sanctions – eliminates any doubt they would have engaged in exactly the same

misconduct at the EMC deposition.

       The discussion that follows will review in detail the way this deposition unfolded and

respond to the myriad claims asserted in the Opp. Brief. But both the transcript and the video of

the deposition make each of the following points clear:

       1.      The Defendant’s witness repeatedly ignored the actual questions posed and

instead read scripted answers that were clearly improper. This evasive and improper strategy

was pre-planned and repeatedly encouraged and assisted by Defense counsel. It persisted despite

multiple requests to answer the specific questions posed.

       2.      The witness implemented this strategy, reading verbatim from undisclosed

materials apparently in front of him, with the knowledge of Defense counsel, in direct violation

of this Court’s Order governing the conduct of depositions.

       3.      The witness’s evasion was compounded by repeated failures to provide

straightforward and honest answers to the simple follow-up questions posed about his lengthy

narratives: was the witness reading his answer verbatim and, if so, who wrote the words he was

uttering? The witness – an attorney – and his counsel knew the honest answer to these questions,

but the witness went to great length to claim he was just “relying on his notes” or simply quoting

from deposition transcripts. These words were carefully chosen, and repeated over and over, in

an effort to suggest the witness had not simply read his answer, which he knew was exactly what

he had done.

       4.      Defense counsel was not only complicit in this, but also engaged in highly

improper conduct which included, inter alia, representing on the record that Plaintiffs’ counsel

was            ,              and           at Defense counsel. This was false. The Opp. Brief




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does not dispute this or make any effort to defend this conduct. Instead, it doubles-down, now

representing that Plaintiffs’ counsel was “unhinged” among many other recriminations. None of

this is true.

         5.     Although all of this is sanctionable, the Opp. Brief makes this even worse by

adding – almost as an afterthought – frivolous claims seeking sanctions against Plaintiffs’

counsel. The Opp. Brief asserts these baseless claims despite Defendant’s knowledge that

                                                                        Plaintiffs’ Brief (“Pls.’

Br.”), Dkt. 777, Exh. B, Snell Dep. Tr. at 58:19-21 (hereinafter “Dep.”).

         The following discussion begins by reviewing in detail the conduct at the deposition and

the defenses and accusations in the Opp. Brief and cross-motion. Point I. We then address the

appropriate sanction for Defendant’s misconduct. Point II. We close with additional comments

on Defendant’s frivolous cross-motion for sanctions. Point III.

         I.     THE CONDUCT AT THE EMOI RULE 30(B)(6) DEPOSITION.

                A.     The Events Preceding the Deposition.


         The Opp. Brief does not seriously dispute the relevant events that preceded the EMOI

Rule 30(b)(6) deposition. When Phase 2 discovery commenced, Plaintiffs served deposition

notices for EMOI and EMC Rule 30(b)(6) depositions. In the conferences and communications

that followed, Defendants declined to discuss the scope of the deposition topics, stating that this

was “non-negotiable” and categorically opposing the depositions. This necessitated a motion to

compel, the Court’s Order of August 10, 2020 (Dkt. 720), and the Court’s subsequent Order of

October 14, 2020 (Dkt. 758).2



     2
       The Opp. Brief makes other claims about events preceding the deposition (Opp. Br. at 5),
that simply repeat arguments Defendants’ made when they unsuccessfully tried to prevent these


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        The Opp. Brief does not dispute any of the events that followed:

        *      On October 22, 2020, the parties conferred about the Rule 30(b)(6) depositions

pursuant to this Court’s Order. Defendants declined to agree to any of the noticed topics (which

had now been pending before them since February), and would not discuss the scope of any of

the topics.

        *      Confronted with this, Plaintiffs spent the weekend unilaterally revising and

narrowing the topics. The Defendants subsequently acknowledged they were “gratified” that

Plaintiffs had “served drastically revised Rule 30(b)(6) notices from the originals served in

February.” Pls.’ Br., Exh. J at 1. Plaintiffs also agreed, with limited exceptions, to restrict

questioning to matters in a confined time period. Despite this, when the parties conferred a

second time – on October 26 – the Defendants were again unwilling to discuss the scope of any

of the noticed topics.

        *      On October 30, the Defendants served objections. Defendants stated that subject

to their general objections, “EMOI will designate a witness to respond to questions [on each

Topic] that are not duplicative of those asked at the Previous Deposition.”3 Id.

        *      The Court’s Order established a November 9, 2020 deadline for “any motion for a

protective order to further limit the scope of the Rule 30(b)(6) depositions.” Dkt. 758 at 5.

Defendants did not file a motion.




depositions from going forward. These arguments have been addressed previously. See Dkt.
702 & Dkt. 706.
    3
     The Court’s October 14, 2020 Order provides that “plaintiffs may not re-ask questions to
which a responsive answer was provided in a previous 30(b)(6) deposition of the same
corporation.” Dkt. 758 at 4. Plaintiffs have strictly complied with this.


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decision not to have knowledgeable witnesses used and utilized an attorney with no personal

knowledge of the events at issue.

        The Opp. Brief’s characterization of what then ensued is flatly at odds with both the

transcript and deposition video. The Opposition would have the Court believe that the witness’s

testimony was “fully responsive” and provided substantive answers “to the questions posed”

(Opp. Br. at 11); the witness was forthcoming about his use of “notes”; his word-for-word

recitation of scripted, non-responsive answers was a minor and largely incidental feature of the

deposition; and Defense counsel’s conduct was appropriate and any suggestion to the contrary is

“offensive” (id. at 23). None of this is accurate.

        Because of the seriousness of this misconduct – and its implications for the EMOI Rule

30(b)(6) deposition and resulting postponement of the EMC Rule 30(b)(6) deposition – we

review this conduct in detail as it unfolded, citing the relevant deposition pages and video:

        *      Pages 1-24. As the deposition began, Plaintiffs’ counsel asked general

background questions and defined relevant terms. Plaintiffs’ counsel then showed the witness a

map of the EMOI facilities at issue simply to identify the locations that would necessarily be

discussed throughout the deposition. The witness and counsel immediately insisted that counsel

identify the topics this was relevant to – a demand that was nonsensical because, as Plaintiffs’

counsel explained to the witness, the purpose of the questioning was simply to identify locations
                                                     7
that would obviously                                     Dep. at 16:10-11. Defense counsel then




    7
      For example, multiple topics referenced the “Arun Project,” which was defined to include,
inter alia, specific Exxon facilities and housing locations at issue. Plaintiffs could not have
questioned the witness in depth about these topics without first identifying what and where those

                                                     7
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accused Plaintiffs’ counsel of

                                      Id.at 16:20-17:3; Pls.’ Br., Exh. C Video 1 at 14:10-32.

         *       Pages 25-73. As the questioning proceeded beyond preliminary matters, the

Defendants’ “two-step” strategy quickly emerged: (a) instead of addressing the specific question

that had been posed, the witness and Defense counsel would insist that Plaintiffs’ counsel

identify the broader topic area the question fell within; and (b) the witness would then recite a

lengthy, scripted answer that often did not respond to the specific question at all, and was always

replete with non-responsive talking points that would make the answer unusable or simply flood

the record with argumentation in support of EMOI’s defenses.

         This tactic clearly contravenes Rule 30(c)(1)’s command that “[t]he examination and

cross-examination of a deponent proceed as they would at trial under the Federal Rules of

Evidence, except Rules 103 and 615.” Needless to say, it is entirely improper for a witness to

ignore the actual question asked and instead embark on a lengthy narrative replete with non-

responsive and self-serving information. Although this is so well-accepted and fundamental to

proper testimony that it hardly requires citation, this core principle is succinctly stated in

Professor Mauet’s treatise on Trial Techniques:

                 An answer that does not directly respond to a question is objectionable as
         unresponsive. Where the answer goes beyond what is necessary to answer the question,
         that surplusage of the answer is objectionable.8

         The witness and his counsel ignored these basic requirements as soon as substantive

questioning began and instead implemented their two-step strategy. At page 25, Plaintiffs’

counsel asked:


locations were (on a map provided to the witness), nor would such questioning have been
comprehensible by a jury without covering these basic background facts first.
    8
        Thomas A. Mauet, Trial Techniques and Trials 488 (6th ed. 2002).


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                 16.      Records Available to Witness. While the deposition is on the record, the
         witness shall not have access to any form of information related to the litigation other
         than exhibits specifically marked and identified for the record by either side, including
         but not limited to the internet, phones or other devices or materials that contain any
         notes, files or documents that relate to the subject matter of the litigation. …

Dkt. 750 at 8. The failure to comply with this could hardly be more egregious, as this witness

did not simply have access to “information related to the litigation” while the deposition was on

the record, but was reading his testimony verbatim from his undisclosed script.11

         The Opp. Brief has no colorable basis for defending this conduct. It is undisputed that

this script was neither disclosed nor marked when the deposition went “on the record.” It is

undisputed that as the deposition then continued on the record, the script remained undisclosed

even as the witness read his answer verbatim at pages 27-29 of the transcript. It was only after

Plaintiffs’ counsel observed the witness looking at something off camera (and giving such a

lengthy and non-responsive narrative) that Plaintiffs’ counsel confronted the witness and asked if

he was                           (Dep. at 30:8-9). This was a fact the witness could not deny

without perjuring himself.

         Without disputing any of this, the Opp. Brief claims that the Order’s explicit prohibition

against using undisclosed materials “[w]hile the deposition is on the record” means something

other than the obvious. The Opp. Brief seems to suggest that the Court’s Order permits a witness

to have access to whatever material they like while the deposition is ongoing – including an

undisclosed script used to answer questions verbatim – as long as the material is disclosed after

all questioning is completed and the deposition is over. That is so obviously contrary to the



    11
       In addition to being a violation of the Court’s Order, this failure to disclose is also a
particularly cynical and inexcusable exploitation of the circumstances of a global pandemic.
Remote depositions require heightened professional courtesy and trust between opposing
counsel, and this behavior is a radical breach of both.


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explicit terms and purpose of this Court’s Order that it requires no further response. To state the

matter succinctly: the witness knowingly and deliberately had access to undisclosed information

“[w]hile the deposition [was] on the record” and, in fact, read at length from that undisclosed

information, verbatim, in the guise of testimony. And counsel knew he was doing this. That is a

clear violation of this Court’s Order.12

           *    After observing the witness looking down while answering, Plaintiffs’ counsel

quite appropriately tried to determine if the witness was reading his answer and, if so, who had

written the words he was uttering. Dep. at 30:8-31:16. Asked if he was
                                     13
he responded                               Id. at 30:10. After testifying that these “notes” were a

                                                             he was asked if the answer he just read

was                                                   and responded

                                Id. at 30:16-17, 31:9-10. He was then asked specifically if he

wrote the words he had just testified                                                        Id. at

31:11-12. He did not answer the question directly and instead repeated that the “notes” were

                                                                        Id. at 31:14-16.


      12
       The Opp. Brief asserts that “Plaintiffs grudgingly admit that Mr. Snell’s notes were
marked for the record, as required by the Deposition Protocol. That is the end of the matter.”
Opp. Br. at 15 (citation omitted). What the Opp. Brief characterizes as an “admission,” is
exactly the opposite. Notwithstanding the clear terms of this Court’s Order, the transcript makes
clear that (a) the witness was using these materials while the deposition was on the record
without disclosure by the witness or defense counsel marking them as exhibits; (b) the existence
of these materials was only admitted because of Plaintiffs’ counsel observations of the witness
and ensuing questions; and (c) the materials were not produced until all questioning was
completed and the deposition was off the record. Dep. at 362:14-15. The Opp. Brief’s
alternative claim that “defense counsel, unprompted” offered to produce the script (Opp. Br. at
10) is equally specious and is addressed infra at n.18 as we describe the events as they unfolded.
      13
       Note that this answer does not squarely address the question of whether he was reading
his answer verbatim from a script, contra Opp. Br. at 3, 10. The ordinary usage of “notes” in this
context would suggest a loose collection of reminders, not a word-for-word script. The answer is
evasive, not “fully transparent,” Opp Br. at 10.


                                                    12
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65:13-14 (“                                            ”). Video 1 at 1:03:50; 1:04:17; 1:04:27;

1:04:58; 01:06:33. As the witness obviously knew, there is a fundamental difference between

reading a prepared script word-for-word in the guise of testimony and simply using “notes” to

assist one’s memory. These are carefully chosen words that this witness, with no correction by

Defense counsel, would repeat throughout the deposition to avoid admitting the lengthy

testimony he had just uttered had been read word-for-word from a script.

           Plaintiffs’ counsel then tried to determine who wrote the actual words the witness was

uttering. The answer, of course, is fundamental to how the jury should evaluate his testimony:

were these really his words, or was he simply mouthing words written by the defense team? For

several pages of testimony, the witness tried to avoid a direct answer (although he obviously

knew whether he wrote the words or someone else did), claiming again they are a “                   ”

and                                                           Dep. at 66:10, 66:22-23. When asked

                                                        he responded, “

                         ” Id. at 68:12-16; Video 1 at 1:09:00-11. He again tried to avoid

acknowledging that he was actually reading a scripted answer word-for-word: “

       ” Dep. at 68:24. Although the witness was given multiple opportunities to answer whether

the actual words of his lengthy narrative were written by the defense team – or instead were his

own words – the Court will find no clear answer in the transcript. Id. at 69:15-73:19; Video 1 at

1:09:56-1:13:17.20



      20
       The witness’s evasion, his admission that                                    , and the
testimony and argument that the script was “developed collaboratively” with and “ultimately
memorialized by” counsel, Opp. Br. at 3, strongly suggest that the words were simply written by
defense counsel. These factors and the self-serving and non-responsive nature of the answers
also cast considerable doubt on the witness’s testimony that
                   and the Opp. Br.’s argument that the notes “were his own responses.” Id. at 21.
In other words, the testimony strongly suggests the witness’s testimony was not EMOI’s, but


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        *      Pages 97-153. By this point in the deposition, the defense strategy to ignore the

actual question, and instead read a non-responsive answer flooding the record with “evidence”

that will make the testimony either useless or helpful to EMOI’s defenses, was obvious. This

calculated evasion required Plaintiffs’ counsel to completely revise the goals for the deposition –

jettison large portions of the intended examination – and focus on questions that might elicit

responsive information. Given this reality, the Opp. Brief’s assertion that “the witness’s

testimony aligns with his notes” for “approximately 10% of the examination” (Opp. Br. at 3)

(emphasis added), is simply a misleading irrelevance. First, this is not a matter of testimony

simply “aligning” with notes – this witness was reading answers, for multiple pages of

testimony, word-for-word. Second, as this highly improper conduct became apparent, it

impacted everything that followed as Plaintiffs’ counsel had to completely revise all questioning

in the hope of securing responsive testimony rather than non-responsive, self-serving narratives

scripted by the defense team. Regardless of how many minutes the witness wasted reading

Exxon’s talking points into the record, his technique polluted the “fair examination of the

deponent” for the entire period. Fed. R. Civ. P. 30(d)(2).

        In an effort to extract some value from the deposition, Plaintiffs’ counsel then tried to

focus on the specific allegations of each Plaintiff – questions that are obviously relevant and

encompassed by Topic 5 (which was not time-limited). Because the witness had testified that he

had “                                                                                    ” (Dep. at

97:16-18), these questions first tried to determine if the witness was aware of the specific

allegations and testimony relating to an individual plaintiff, and then tried to ascertain what, if

anything, the Defendant had done to investigate these allegations and any facts Defendant was




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             •   Because EMOI witnesses have previously questioned whether documents from
                 Defendants’ files bearing their signature or sent by them are inaccurate, falsified
                 or otherwise inauthentic, it has become necessary to confirm that the statements
                 written and memorialized in Defendants’ documents were, in fact, written and
                 reported by EMOI employees and agents.

         As Plaintiffs’ counsel continued to try to get answers to the actual questions posed, the

witness was then asked a very precise question (and one explicitly covered by the Notice40) that

only required a “yes” or “no” answer: “

                                                                 ” Dep. at 287:12-16; Video 5 at

38:19-33. Once again, the witness did not answer this straightforward question, but instead

embarked on another lengthy and non-responsive narrative, now reading verbatim from his script

for almost six pages of the deposition transcript. Dep. at 287:17-293:4; Video 5 at 38:33-

44:29.41 The witness was then asked if he was “

              ” (Dep. at 294:12-13). The witness responded that his answer was an “

                                         ” again misleadingly implying to anyone viewing the

video (including the jury at trial) that this is the only portion of his answer that was read. Id. at

294:23-24. He was then asked if his “                  ” was “

                  ” and again falsely implied that he was only reading the portion of his answer

that was quoting deposition testimony. Id. at 295:6-296:9.42




    40
       See Pls.’ Br., Exh. E at 6 (Topic 8 covering, inter alia, “risk assessments regarding
security issues related to the Arun Project).
    41
         Compare Dep. at 287:19-293:4 with identical language in Pls.’ Br., Exh. D at 59-61.
    42
       The witness was also asked about the code of conduct for the military that was explicitly
recommended in the risk assessment (but never even drafted by EMOI). The witness admitted
that he had never read the risk assessment and “
         ”). Dep. at 294:6-9 and 300:2-5.


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         With such a clear record of misconduct, the various claims and defenses in the Opp. Brief

unravel. Even if this witness were credible (which he is not), the fact that Defense counsel

prepared a lengthy script and the witness prepared for hours to parrot his non-responses is of no

moment. The witness’s testimony speaks for itself about what he was “prepared” to do – the

witness engaged in a clear and persistent pattern of evasion; his answers to the most fundamental

questions (Was he reading answers verbatim? Who wrote the words he was uttering in the guise

of testimony?) were misleading at best and false at worst; and he provided little, if any,

substantive information beyond the non-responsive words that he literally read from his text.

Although the basis for the Opp. Brief’s claim that he answered more than “300” substantive

questions is a mystery,45 the record could not be clearer that, with limited exceptions, he had no

ability to offer anything of substance beyond his scripted words.

         By the same token, the Opp. Brief’s claim that the witness spent “approximately forty-

four minutes on the record” reciting words from the script (Opp. Br. at 11), is not only damning

in itself, it simply misses the point. As explained above, it became clear as soon as substantive

questioning began, that the core strategy being implemented by the witness and his counsel was

to ignore the actual question posed and instead embark on a scripted and non-responsive answer

designed simply to advance various defense claims. This impacted everything that followed in

the deposition, including the questions Plaintiffs’ counsel could pose and the ensuing efforts to

obtain responsive answers.


    45
       Opp. Br. at 11 & n.9. The Opp. Brief provides no serious explanation of how it arrived at
this sum other than its brief mention about items that were “excluded.” The suggestion that this
witness was making a good faith effort to provide responsive and substantive answers to the
questions before to him is squarely contradicted by the transcript and the detailed analysis above,
which shows that the witness’s ability to answer substantive questions beyond his scripted
answers was limited to a few subject areas, largely outside the relevant time period (such as
questions about corporate structure).


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         These tactics, compounded by the witness’s dissembling answers and his counsel’s

inappropriate statements, cannot be countenanced. It is hornbook law that a Rule 30(b)(6)

deponent must answer the actual questions posed, rather than respond evasively or with a long

non-responsive narrative replete with self-serving testimony.46 The Opp. Brief virtually ignores

the well-established law cited in support of Plaintiffs’ motion, holding that such conduct is

sanctionable.47


    46
       See Pls.’ Br. at 34 n.22 (citing cases holding that providing evasive or non-responsive
answers is tantamount to a failure to appear and is sanctionable); see, e.g., 7 Moore’s Fed. Prac.
§ 30.25 (2021 ed.) (citing cases holding that organization has affirmative duty to prepare Rule
30(b)(6) deponent to provide complete and non-evasive answers “to questions posed regarding
the relevant subject matter”) (emphasis added); Brazos River Auth. v. GE Ionics, Inc., 469 F.3d
416, 433-34 (5th Cir. 2006) (same); REC Marine Logistics, LLC v. Richard, No. 19-11149, 2020
WL 2508006, at *2 (E.D. La. May 15, 2020) (same); Sony Elec., Inc. v. Soundview Tech., Inc.,
217 F.R.D. 104, 112 (D. Conn. 2002).
    47
       See Pls.’ Br. at 34 n.22; id. at 36 n.23 (citing cases holding that witness “cannot simply be
a conduit for counsel’s contentions” and “[p]reparing a designated corporate witness with only
the self-serving half of the story that is the subject of his testimony is not an act of good faith”);
and 40 n.24 (citing cases holding that witness’s counsel cannot “just sit idly by and do nothing”
and has a responsibility to “advise his client of his obligation to answer the questions which were
asked.”). The few cases cited in the Opp. Brief simply involve situations where a party had not
engaged in misconduct at the deposition at issue and, as a result, there was no basis for sanctions.
United States v. All Assets Held, etc., No. 04-cv-798 (PLF/GMH), 2017 WL 4183450, at *5
(D.D.C. Sept. 20, 2017); Covad Comm. Co. v. Revonet, Inc., 267 F.R.D. 14, 26 (D.D.C. 2010)
(conduct at deposition was “par for the course”). (The Opp. Brief’s reference to Alexander v.
FBI, 186 F.R.D. 144, 147 (D.D.C. 1999) (Lamberth, J.) relates to the award of costs where a
motion (or opposition) is not substantially justified. Here, such an award is appropriate against
Defendants based on each of the authorities cited in Pls.’ Br. at 40-41, which are not discussed in
the Opp. Brief).
     Disregarding the well-established law cited in Plaintiffs’ Brief, the Opp. Brief tries to
distinguish the imposition of sanctions in the Neurontin case where the witness had met with
counsel and reviewed documents and then used an outline prepared by counsel at his deposition.
In Neurontin, the witness was at least straightforward and honest about the process involved.
Neurontin, 2011 WL 2357793, at *2. Here, there is no basis for this Court to conclude that the
witness “developed his notes in close collaboration with counsel” and “his notes reflected his
own knowledge based on his preparation.” Opp. Br. at 21 n.22. To the contrary, only three
things can be ascertained from this witness’s testimony. First, these are not “notes” – this is a
script that the witness repeatedly read verbatim. Second, there is no way to determine which
words, if any, were the witness’s own and which were selected and written by counsel, because
the witness would not provide a direct answer to this straightforward question. Stated in clear


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         As these cases recognize, if a Rule 30(b)(6) witness could simply ignore the question

posed, and instead launch into a non-responsive speech replete with self-serving testimony –

presumably written in whole or in part by his counsel to advance defense themes – the purpose

of the rule is utterly defeated. And, while the calculated and repeated implementation of this

strategy is itself sanctionable, it was gravely compounded here by the failure even to disclose this

script in clear violation of this Court’s Order, the witness’s evasive and misleading responses to

questions about what he was doing (questions he knew the honest answers to), counsel’s

complicity in these actions, and counsel’s untrue and highly inappropriate insults.48

         II.    THE REQUESTED SANCTIONS PROVIDE APPROPRIATE RELIEF.

         We will comment briefly on the relief that is requested in Plaintiffs’ motion, see Dkt.

777, Exh. A (Proposed Order), in light of the positions taken in Defendants’ Opposition:

         1.     Plaintiffs have requested leave to proceed with the deposition of EMOI’s Rule

30(b)(6) witness and the deposition of EMC’s Rule 30(b)(6) deposition, at dates agreed to by the

parties. These depositions should proceed promptly, but do not require any change in other

deadlines set by the schedule.

         At the EMOI deposition, Defendant EMOI took the position that Plaintiffs had

“forfeited” their right to secure further testimony from its witness. The Opp. Brief, remarkably,

criticizes Plaintiffs for being unable to pursue or secure testimony on each noticed topic, even


terms: this witness was not credible. Third, on the substantive issues in the case, with the
exception of only a few topics, this witness rarely had much if any substance to offer beyond the
scripted words that had been prepared for him.
    48
        The witness’s and counsel’s failure to disclose the presence of “information related to the
litigation” including “notes” is independently sanctionable conduct. See Cobell v. Babbitt, 37 F.
Supp. 2d 6, 9 (D.D.C. 1999) (Lamberth, J.) (“[T]he court has ‘inherent power to protect [its]
integrity and prevent abuses of the judicial process’ by holding parties in contempt and ordering
sanctions for violations of the court’s orders.” (quoting Webb v. Dist. of Columbia, 146 F.3d 964,
971 (D.C. Cir. 1998))).


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though the actions of the witness and Defense counsel obviously made that impossible.

Moreover, Defendant’s insistence that this misconduct was proper makes it absolutely clear that

it would have been pointless, or worse, to proceed with the scheduled EMC 30(b)(6) deposition

authorized by the Court (which would have involved the same witness and Defense counsel)

until these issues were brought to the Court’s attention.

       Plaintiffs’ motion requests leave “to proceed with ten hours of questioning of these

witnesses, to be allocated between these depositions as Plaintiffs’ counsel considers necessary.”

Dkt. 777, Exh. A. Notably, if the EMC deposition had proceeded, Plaintiffs would have been

entitled to seven additional hours of questioning under the Federal Rules. Because of the

misconduct and interference at the EMOI deposition, requesting a total of ten hours for the two

depositions after they resume is appropriate. And, both because of the misconduct, and the fact

that the same witness and counsel will be involved for both depositions, it is appropriate for

Plaintiffs to decide how that time can best be allocated between the two depositions.

       2.      Plaintiffs have requested that Defendants’ 30(b)(6) witnesses be directed to give

responsive and reasonably concise answers to the questions posed and counsel be directed that

objections to a question (other than privilege) be stated “concisely in a nonargumentative and

nonsuggestive manner.” Fed. R. Civ. P. 30(c)(2). The Opp. Brief’s insistence that the actions by

witness and counsel were appropriate confirms the need for this relief.

       3.      Plaintiffs have requested that if the witness may have access to information

subject to Paragraph 16 of the Protocol while the deposition is on the record, those materials

should be made available to Plaintiffs’ counsel at least one hour before the deposition begins so




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they can be printed and reviewed before the deposition begins. Given the actions at the EMOI

deposition, the need for this is self-explanatory.49

          4.   Plaintiffs have requested that Defense counsel pay Plaintiffs’ fees and expenses

incurred in (a) filing Plaintiffs’ motion and addressing responsive pleadings submitted by

Defendants; and (b) preparation for and taking the resumed deposition of EMOI’s Rule 30(b)(6)

witness. Although that relief is well supported by the law, the Opposition and cross-motion

submitted by Defendants makes the justification for such relief even more appropriate. Rather

than acknowledging the misconduct, Defendants have doubled-down on its defense, and even

beyond that have represented to the Court’s that Plaintiffs’ counsel was “unhinged” (among

many other recriminations in the Opp. Brief) and Defendants have filed a frivolous cross-motion

for sanctions. Although that motion is completely meritless, the mere fact of the filing has

reinforced the need for Plaintiffs to file a careful and meticulous explanation of what occurred at

the deposition and Defendants’ attempt to recharacterize those events and even blame the

Plaintiffs.




     49
       The Opp. Brief repeatedly states that Plaintiffs have “conceded that a witness can use
notes.” E.g., Opp. Br. at 19. Reading from scripted materials verbatim for multiple pages is not
“relying on notes” (for example, imagine parents reading a story to their child and then saying
they were simply “relying on their notes” – although that would be absurd on its face, this is the
essence of the position repeatedly stated by the witness under oath and now defended by EMOI
and its counsel as honest testimony). The question here is not whether a witness could ever refer
to notes in any manner, Opp. Br. at 21 & n.22, but whether a witness can fail to disclose a script
in direct violation of a court order, and then repeatedly read non-responsive and self-serving
narratives verbatim from his script and then providing evasive, misleading and/or false testimony
about his scripted answers.


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         III.   DEFENDANTS’ CROSS-MOTION FOR SANCTIONS IS FRIVOLOUS.

         After arguing that sanctions should be imposed sparingly, and despite their own

recognition that “frivolous threats of sanctions against counsel is itself sanctionable,” Defendants

have gone on the offense by filing a meritless cross-motion for sanctions:

         *      Defendant’s cross-motion asserts that it was somehow sanctionable not to identify

the broader topic number that the witness (and counsel) sought in order to initiate their two-step

strategy. Tellingly, Defendant does not make any serious argument that a single question in this

deposition was outside the scope of the noticed topics.50 Nor do they cite a single case,

anywhere, that has ever required questioning counsel to identify the topics to which their

questions pertain, let alone sanctioned an attorney for “failing” to do so.51 If Defense counsel

believe a question is outside the noticed topics, the solution is to lodge an objection, as they have




    50
       The only question the Opp. Brief even argues was outside the scope of the notice was
Plaintiffs’ effort to determine if EMOI’s senior management had knowledge of the State
Department’s annual reports about human rights abuses by the Indonesian military. Opp. Br. at
28. That question was both relevant and clearly encompassed by Topic 2 (“Your knowledge of
abuse, including human rights abuses, assaults, batteries, sexual abuse, torture, violence, and
other torts by … Indonesian military personnel, including any history or reputation for such
abuses.”). Pls.’ Br., Ex. E at 3.
     The Opposition Brief notes that questioning in a Rule 30(b)(6) deposition can also properly
include questions outside the notice. Opp. Br. at 16 n.16. That is true, but irrelevant here: there
is no colorable argument that any of the questions asked at this deposition were outside the
notice.
    51
       Instead of citing any legal authority, the Opposition Brief merely argues that some counsel
(including a junior associate earlier in this case) proceed topic-by-topic in a Rule 30(b)(6)
deposition. While counsel can choose to proceed in that manner if they believe it is helpful, it is
certainly not required, particularly where the underlying events unfolded in chronological
manner and a particular question often falls under multiple topics. Needless to say, it is not
“sanctionable” for counsel to conclude that there are better ways to pursue questions (all of
which fall within the noticed topics), and the Opp. Brief does not cite a single case that would
remotely support a contrary conclusion.


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         *     The Opp. Brief represents that Plaintiffs’ counsel “repeatedly” interrupted the

witness and cites four occasions in the course of seven hours of questioning where this

purportedly occurred. Opp. Br. at 29.54 As the transcript demonstrates, on each occasion the

witness had read a scripted, non-responsive answer for multiple pages and – after being asked if

he was simply reading verbatim – continued to do so for multiple pages of additional

“testimony.”55 Defendant’s apparent position is that it is appropriate for a witness to engage in

such conduct for whatever period of time is required – Five minutes? Ten minutes? More?

Needless to say, this would never be tolerated in a courtroom. See Fed. R. Civ. P. 30(c)(1)

(“examination and cross-examination of a deponent proceed as they would at trial”).




    54
        The only case even cited in the cross-motion involved a magistrate judge’s finding that an
attorney engaged in conduct that “would not be allowed in any courtroom by any judge in this
District.” Tajonera v. Black Elk Energy Offshore Operations, L.L.C., No. 13-0366, 2015 WL
9311968, at *3 (E.D. La. 2015). While that case provides no support for the cross-motion here,
its reference to conduct that “would not be allowed in any courtroom” certainly applies to the
actions by EMOI’s witness and defense counsel described in detail supra.
    55
        These are the parts of the deposition that Defendants’ claim to support their cross-motion:
(1) at page 34:9-14, the witness had read verbatim from his undisclosed script from pages 27:24-
29:23 (Video 1 at 26:14-28:38) of the transcript and continued to do so from pages 32:19-34:8 of
the transcript; (2) at pages 227:3-228:3 and 233:9-234:8 the witness had again been reading
verbatim from his script from pages 222:21-225:17 (Video 4 at 29:04-32:22) and continuing at
230:19-233:8 of the transcript; and (3) at 283:4-5, the witness had again been reading a non-
responsive, scripted answer from pages 281:17-283:3 (Video 5 at 32:14-33:55) of the transcript.


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                                         CONCLUSION

       The imposition of sanctions on Defendant and its counsel for the misconduct described in

Plaintiffs’ motion is appropriate. This Court authorized the EMOI and EMC Rule 30(b)(6)

depositions, after extensive briefing, over Defendants’ vigorous opposition. The Defendants

then effectively ignored the process set out by the Court – repeatedly declining to negotiate in

good faith about the depositions and disregarding the deadline set by the Court – and instead

implementing a strategy of “self-help.” The actions of Defendant, the witness and their counsel

made a mockery of Rule 30(b)(6), by allowing the witness to simply read self-serving scripts,

apparently drafted by defense counsel, into the record in the guise of testimony. This would

never be permitted in a courtroom or allowed in the presence of a judicial officer, and it should

not be tolerated here.

       Defendants have gone to great length to avoid forthcoming testimony about their actions

in Aceh – actions that had tragic consequences for the Plaintiffs. If the conduct described herein

is countenanced – and is permitted to destroy the utility of the EMOI Rule 30(b)(6) deposition

authorized by the Court over Defendants’ opposition and effectively prevent the EMC 30(b)(6)

deposition from proceeding at all – Defendants would be rewarded for their misconduct and will

simply have substituted attorney-written talking points for genuine testimony. Plaintiffs

respectfully request that their motion be granted, so they will have the opportunity to secure the

actual facts known or reasonably available to Defendants about the actions that will ultimately be

evaluated by the jury in this case.




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Dated: March 23, 2021                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on March 23, 2021, I electronically filed Plaintiffs’ Reply

Memorandum in Support of Motion to Compel Discovery and Impose Sanctions and Opposition

to Defendants’ Cross-Motion for Sanctions with the Clerk of the Court using the ECF, who in

turn sent notice to counsel of record in this matter.


Dated:     March 23, 2021                               /s/ Kit A. Pierson
